Case 2:04-cr-20430-SH|\/| Document 31 Filed 04/21/05 Page 1 of 2 Page|D 37

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

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ZEEB§FH`?J D§
UNITED STATES OF AMERICA, J£HK‘Mb m
Plaintiff,

VS.

CR. NO. O4~20430-Ma

ROBERT GREGORY ,

~._¢~._,-_/~_._¢-._.¢-._-_/-..¢-._.-

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on March 25, 2005.
Counsel for the defense requested a continuance of the present
trial date in order to allow for additional preparation in the case
and due to defendant’s ongoing medical evaluation. The Court
granted the request and continued the trial date to the rotation
docket beginning May 2, 2005 at 9:30 a.m., With a report date of
Thursday, April 21, 2005 at 2:00 p.m.

The period front March. 25, 2005 through May' 13, 2005 is
excludable under 18 U.S.C. §§ 3l6l(h)(8)(B)(iv) and 3161(h}(4)
because the interests Of justice in allowing for additional time to
prepare and defendant's continued medical evaluation outweigh the
need for a speedy trial.

IT IS SO ORDERED this ’ub¥¢; day of April, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

